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AO 91 (Rev, 08/09) Criminal Complaint ’ S@UY§@F " m
UNITED STATES DISTRICT CoURT ana t 2 2613
for the

Southem District of Texas : j § ,GHE`§(QFG@M'§
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34 |V|arcos Garcia-Rodriguez(l\/Ix. National,YO :
Beatr'\z Adriana RODRlGUEZ (USC, ‘(OB: 9

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Ddendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of August 2015 through Ju|y 12, 2018 in the county of Hida|go in the
Southem District of Texas , the defendant(s) violated:
Code Secrion Ojj"ense Description
18 U.S.C. Section 1341; IV|ail Fraud
18 U.S.C. Section 1343; Wire Fraud
18 U.S.C. Section 1346 Conspiracy to Commit lV|ai| Fraud; Conspiracy to Commit Wire Fraud

This criminal complaint is based on these facts:

See Attachment A

»/ Continued on the attached sheet.

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Complaz`nant ’s signature

 

Jesus Palomo, HSl Specia| Aqent
Prz'ntea' name and title

 

- dee ’s signature
City and state: |V|cAllen, Texas - V .S. agistrate Judge J. Scott Hacker

Printea' name and title

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Attachment A

. The purpose of this affidavit is in support of a complaint to arrest Beatriz Adriana
RODRIGUEZ, a United States citizen, and l\/larcos Rodriguez, a MeXican National, for
violations of Title 18 United States Code Sections 1341, 1343 and 1346, mail fraud,
wire fraud, and conspiracy to commit mail and wire fraud. The information in this
affidavit is based on personal knowledge and information provided to me by other
law enforcement officers and individualsl The information in this affidavit is provided
for the limited purpose of establishing probable cause. The information is not a
complete statement of all the facts related to this case.

. ln 2017, Homeland Security Investigatio,_ns [HSI] McAllen, TeXas received information
from the Office of Professional Responsibility (OPR] regarding a complaint relating to
a scheme orchestrated by Marcos GARClA-RODRIGUEZ [hereinafter "GARCIA-
RODRIGUEZ”]. GARClA-RODRIGUEZ claimed to be a general manager for the Social
Security Office in Mission, Texas and promised an individual that he could help him
obtain legal documents and a driver’s license. The complainant stated he sent a total
of $11,010.00 though a money service business to GARClA-RODRIGUEZ’ alleged
sister, Beatriz Adriana RODRIGUEZ [hereinafter “Rodriguez"]. The complainant
provided a cell phone number for GARClA-RODRIGUEZ.

. Thereafter, HSI agents conducted an undercover operation and called the number
provided for GARClA-RODRIGUEZ. During the course of that operation, a traffic stop
was conducted on a vehicle driven by the owner of the cell phone associated with
GARClA-RODRIGUEZ. During the traffic stop, the driver identified himself as MARCOS
RODRIGUEZ and provided an address in McAllen, Texas. During the course of the
operation, GARCIA-RODRIGUEZ was also met by RODRIGUEZ, who GARCIA-
RODRIGUEZ stated was his wife.

. HSI agents later obtained records from Moneygram revealing RODRIGUEZ received
significant payments from individuals in different states. HSI Agents interviewed
multiple individuals who sent the wire payments and determined that RODRIGUEZ
received over $50,000.00 from individuals hoping to obtain immigration documents,
legal status, or driver’s licenses from at least August 2015 through August 2017.

. Through the course of the interviews with the individuals sending the money to
RODRIGUEZ, Agents learned that GARClA-RODRIGUEZ was using the same method of
operation to scam victims for several thousand dollars each. After the individuals
made contact With GARClA-RODRIGUEZ, he would identify himself as the manager of
a Social Security Administration and the Texas Department of Motor Vehicle [DMV)

office in Mission, TX. GARCIA~RODRIGUEZ would tell the individuals that',he could,…v

provide them with legitimate immigration documents and state driver’s licenses' in
exchange for money. When the individuals asked for proof of identification, GARCIA-

RODRIGUEZ would text or email a photo copy of a fictitious government identification

with the name "Roberto Garcia R.”

6.

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11.

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After gaining an individual’s trust, GARClA-RODRIGUEZ would have the individual
transfer money via Money Gram or Western Union to a “Beatriz Adriana Rodriguez”
to initiate the document process. After several weeks, GARCIA-RODRIGUEZ would
call the individual back and claim to have run into issues with the cards. GARCIA-
RODRIGUEZ would then request another deposit for several thousand dollars. The
individual would never hear back from GARClA-RODRIGUEZ and the documents
would never be delivered to the individual If GARClA-RODRIGUEZ called back, it
would be for more money, claiming that another problem presented itself. During the
interviews, HSI agents learned that some individuals sent fingerprint cards and
passport photos, along with U.S. currency, through the U.S. Postal Service.

On ]une 1, 2018, USPIS inspectors obtained information that a Post Office Box in
Pharr, TX 7857 7 was rented to Beatriz A. Rodriguez (hereinafter “the P.O. Box"]. The
PO BoX was listed for "Residential/Personal Use” or non-business purposes.

A review of U.S. Postal Service records found that between ]une 21, 2017 and ]une 1,
2018, approximately fifty-seven [55) Priority and Express Mail pieces and two (2]
First Class Mail pieces were delivered to the P.O. BoX. The mail pieces originated from
eleven [11) different states and many locations in TeXas. None of the mail pieces
originated in the Rio Grande Valley, TX.

ln ]une 2018, a USPIS Inspector identified a Priority Mail Envelope destined to the
P.O. BoX. A. search warrant was obtained to search the envelope and agents found
immigration related documents with signatures as well as a money order for $500.00.
Agents placed the contents of Priority Mail Envelope back into the respective
envelope, re-sealed the envelope, and made the Priority Mail Envelope available for
pick-up at the Pharr, TX Post Office. On ]une 25, 2018, the Priority Mail Envelope was
delivered to the P.O. Box and was made available for pick-up.

. On ]uly 9, 2018, USPIS and HSI Agents made contact with the Sender of the Priority

Mail Envelope referenced in paragraph 9 at his residence Agents informed the
Sender of the investigation and obtained consent to search the contents of another
Priority Express Mail Envelope intercepted by USPIS Inspectors that was addressed
to the P.O. BoX. Upon opening the second envelope, a USPIS lnspector found it
contained: [1) A blank "US Citizenship and Immigration Services Form 1-485,
Application to Register Permanent Residence or Adjust Status, containing the
Sender’s signature; (2) A blank unidentified US Citizenship and lmmigration Services
form, containing the Sender's signature; (3] $5000 in US Currency; and (4] Two
Passport pictures.

During an interview with the Sender of the envelopes referenced in paragraphs‘? and
10 [hereinafter “the Sender”] and his wife, Agents learned that they made contact
with an individual that identified himself as “Mario ORTlZ.” ORTIZ advised the Sender

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that he would be able to obtain a legitimate driver’s license since the Sender already
had a social security number.

12. During the first phone conversation, the Sender asked ORTlZ what he would need to
obtain a legitimate driver’s license. ORTIZ sent the Sender a text with all the
document that he Would need to obtain the driver’s license. The list in the text
included: 2 passport photos, signature on a blank page, first and last name, address
city of residence and state of residence, height, weight, eye color, nationality, photo
identification, and birth certificate Along with the documents ORTIZ requested that
the Sender send a blank $500.00 money order. The Sender mailed all the documents
along with a Wal-Mart $500.00 money order to the P.O. Box. The Sender stated that
ORTlZ had requested that the first documents be mailed to his secretary, Beatriz
RODRIGUEZ, at the P.O. Box address After the initial mailing ORTIZ requested that
the documents be sent to him at the same address

13. After the Sender mailed the money order to ORTIZ, ORTIZ mailed several pages from
the U.S. Citizenship and lmmigration Services form l-690 (Application for Waiver of
Grounds of Inadmissibility] instructions and highlighted the bottom of the pages
where the Sender would sign the sheets and return them.

14. After the Sender sent the money order, ORTIZ called and stated that he had
encountered a problem with the issuance of the driver’s license. ORTIZ stated that he
was being asked about the Sender’s citizenship status from another office. He stated
that if he did not get the citizenship problem “solved” he would end up in court.

15. The Sender’s wife provided conversations that she recorded between the Sender and
ORTIZ. During the conversations1 ORTlZ tells the Sender that he knows an individual
(Garcia RODRIGUEZ] that can help him obtain legitimate immigration documents
ORTIZ states that the Sender must pay $5000.00 within 30 days to have RODRIGUEZ
obtain immigration documents for him. ORTIZ provides the Sender with the GARCIA-
RODRIGUEZ’s phone number and then tells the Sender that the $5000.00 must be
paid in cash before the thirty days During the recorded conversation, the Sender asks
to pay with a check so that there can be a record of the transaction, but ORTIZ insists
that the payment must be made in cash. Several times during the conversation,
ORTlZ warns the Sender that if he does not pay soon, he risks having immigration
officials initiate an investigation on him.

16. The Sender stated that the total amount that GARCIA RODRIGUEZ charged him for the
immigration documents would be $10,000.00. Agents asked the Sender if GARCIA
RODRIGUEZ texted a photograph of his credentials and the Sender stated that he in
fact had received several texts of a credential and a social security card from GARCIA-
RODRIGUEZ’s number. The Sender pulled up the text of the photo and Showed it to
an HSI Agent; The picture of the credential was identical to the credentials that,had
been sent to other individuals that had been interviewed from Kansas and lVlinnesota.

